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Amount: $1,955.53 Date: 08/10/2022                  Amount: $1,955.53 Date: 08/10/2022
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Amount: $1,946,223.36 Date: 09/08/2022                  Amount: $1,946,223.36 Date: 09/08/2022
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